865 F.2d 1260Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Richard Henry DUNCAN, a/k/a Dickie, Defendant-Appellant.
    No. 88-7768.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Nov. 10, 1988.Decided:  Dec. 30, 1988.
    
      Richard Henry Duncan, appellant pro se.
      Thomas Jack Bondurant, Jr.  (Office of the United States Attorney), for appellee.
      Before K.K. HALL and JAMES DICKSON PHILLIPS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Richard Henry Duncan appeals from the district court's order refusing relief under 28 U.S.C. Sec. 2255.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Duncan v. United States, CR-84-45-R, C/A No. 88-246-R (W.D.Va. Aug. 29, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    